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1    DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
2    117 J Street, Suite 202
     Sacramento, California 95814
3    916-447-1193
4    Attorney for Defendant
     PRASERT SOMSINSAWASDI
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7
8                            IN THE UNITED STATES DISTRICT COURT
9                               EASTERN DISTRICT OF CALIFORNIA
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12                                   )
     UNITED STATES OF AMERICA,       )
13                                   )              NO. CR.S-06-343 DLJ
                Plaintiff,           )
14                                   )
          v.                         )              STIPULATION AND
15                                   )              PROPOSED ORDER
     PRASERT SOMSINSAWASDI, et al.   )
16                                   )
                Defendant.           )
17                                   )
                                     )
18   ________________________________)
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20
           If agreed to by the court, Defendant, through counsel Dwight M. Samuel, and the
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     United States of America, through Assistant U.S. Benjamin Wagner, agree to permit the
22
     property of Sisouk Soukasene and La Soukasene, presently posted to secure defendant’s
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     appearance, to be fully conveyed back to Sisouk Sokasene. The property in question is
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     enumerated in a deed against Sisouk Soukasene and La Soukasene’s real property located at
25
     6705 50th Street, Sacramento, CA. This property secures a portion of the total appearance
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     bond of $750,000 as to defendant Prasert Somsinsawasdi. The equity for Mr. and Ms.
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     Soukasene’s property is approximately $50,000 as reflected in the title search and appraisal.
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1    The other four real properties which have been previously posted to secure other portions of
2    the $750,000 bond remain in place and would not be effected by this proposed order.
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4
5    Respectfully submitted,
6
7    DATED: October 17, 2007                               /s/Dwight M. Samuel__
                                                           DWIGHT M. SAMUEL
8                                                          Attorney for Defendant
                                                           Prasert Somsinsawasdi
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10
11   DATED: October 17, 2007                               /s/BenjaminWagner_____
                                                           BENJAMIN B. WAGNER
12                                                         Assistant United States Attorney
                                                           (Signed per telephonic authorization)
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1                                                ORDER
2          The court orders the property of Sisouk Soukasene and La Soukasene, located at
3    6705 50th Street, Sacramento, CA be immediately and fully reconveyed to Sisouk Soukasene
4    and La Soukasene.
5          The court orders all other terms of release to remain in full effect.
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           DATED: 10/22/2007
7
                                                             /s/ D. Lowell Jensen
8                                                            Honorable D. Lowell Jensen
9                                                            United States District Judge

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